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                EXHIBIT B
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                                      Nomenclature Guidelines
      This document is referenced in USP General Chapter <1121> Nomenclature, and will be periodically
                      updated by the USP Expert Committee on Nomenclature and Labeling
                                          (last revision on March 30, 2020)


                                                  Introduction

A consistent and logical approach to naming compendial articles, including small molecule and large
molecule drug substances, drug products, excipients, and dietary supplements, is critical to the
usefulness and integrity of the United States Pharmacopeia–National Formulary (USP–NF). To achieve
this consistency, standard naming approaches for developing monograph titles appearing in the USP–NF
are carried out by the Nomenclature and Labeling Expert Committee. a These naming approaches are
outlined in General Chapter <1121> Nomenclature. The purpose of these Guidelines is to provide
supplemental information to the general approaches outlined in General Chapter <1121>.


In the United States under the Federal Food, Drug, and Cosmetic Act (FDCA), the official name given
to a drug plays a critical role. The FDCA defines the term “official compendium,” in part, as the official
USP, the official NF, or any supplement to either of them. A drug (which includes both FDCA drugs
and Public Health Service Act biologics) with a name recognized in USP–NF must comply with
compendial identity standards or be deemed adulterated and/or misbranded. Such drugs, whether a drug
substance or finished article, must also comply with compendial standards for strength, quality, and
purity, unless labeled to show all respects in which the drug differs [see FDCA 501(b) and 502(e)(3)(b),
and the Food and Drug Administration (FDA) regulations at 21 CFR 299.5]. The FDCA requires all
drugs to have an “established name,” which is a nonproprietary name, other than the applicable
systematic chemical name. The established name is almost always tied to the drug name recognized in
USP–NF. USP and FDA play an important role in creating established names, which in turn have a
critical role, not only for enforceable compendial requirements but also for FDA regulations. Oversight
of proprietary or “brand” names remains the responsibility of FDA, working with applicants in the


a
 The name of the committee has changed over the years and will be referred to as “nomenclature committee” in the
remainder of this document.
Previous names include: Nomenclature Expert Committee; Nomenclature, Safety, and Labeling Expert Committee; and
presently Nomenclature and Labeling Expert Committee.

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course of reviewing and approving New Drug Applications (NDAs), Abbreviated New Drug
Applications (ANDAs), Biologics License Applications (BLAs), New Animal Drug Applications
(NADAs), and Abbreviated New Animal Drug Applications (ANADAs).


FDCA 502(e)(3) specifies how established names for drugs are created. FDA may designate such names
by regulation under FDCA 508, but rarely does so. Instead, in the absence of a name specifically
designated in a 508 rulemaking, the law recognizes the official title of a drug in USP–NF as the
established name. Such recognition applies even if USP does not designate an established name until
after FDA has approved a drug or biologic, which might necessitate a change in the nonproprietary
name approved by FDA. As detailed in FDA regulations, the title of an article in a USP compendium is
the primary pathway for deriving an official nonproprietary name. USP usually adopts drug substance
established names as recommended by the United States Adopted Names (USAN) Council. The USAN
Council is comprised of members representing USP, the American Medical Association (AMA), the
American Pharmacists Association (APhA), FDA, and one member-at-large. The regulated community
and healthcare professionals may rely on the established name for any drug being the current
compendial name or the USAN listed in the USP Dictionary of USAN and International Drug Names. b

USP has had a role in monograph naming since its inception in 1820. In 1986, a USP nomenclature
committee was formed to improve the process of creating official names. The role of a committee
dedicated to nomenclature issues has helped advance consistency in naming compendial articles by
developing nomenclature policies and addressing global aspects of nomenclature in a systematic
manner. The nomenclature committee is responsible for developing and maintaining a Pronunciation
Guide for drug substances and excipients which is utilized by USAN. The activities of the committee are
not limited to small molecule drugs. The committee also develops names for other compendial
categories including:
    •   Biologics




b
 See 21 CFR 299.4. The dictionary is now published under the title USP Dictionary of USAN and International Drug
Names, and includes names approved outside the U.S.

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              USP works with FDA and the USAN Council in establishing naming guidelines for
              biologics, vaccines, tissue and gene therapy products, and others. USP assigns titles to
              biologic products according to the “core name.”

   •   Excipients
              Excipient monographs are included in the NF. The nomenclature committee works with
              the excipient committees to provide consistent and informative names for excipients
              including polymers, products of plant and animal origin, and synthetic or semi-synthetic
              compounds.

   •   Dietary Supplements
              Names of dietary supplement products can be influenced by tradition, existing products
              in commerce, and international aspects of products and their common names that
              originate from traditional medicine. The nomenclature committee works with the dietary
              supplements committees to encourage and standardize the use of the Latin binomials
              standardized common names (as included in Herbs of Commerce published by the
              American Herbal Products Association), and to create naming conventions for extracts
              and their purified derivatives. The term “dietary supplement,” as legally defined by the
              Dietary Supplement and Health Education Act (DSHEA), applies to human products, but
              not animal products. The Dietary Supplements Herbal Medicines Nomenclature Joint
              Subcommittee developed the Guideline for Assigning Titles to USP Dietary Supplements
              Monographs, which is also used as a basis for decisions by the Nomenclature and
              Labeling Expert Committee.


                                         Drug Substances
USP generally recognizes USAN names for drug substance monographs. However, final
recommendations on compendial nomenclature reside with the nomenclature committee. A complete
listing of USAN and International Nonproprietary Names (INN) with supportive information is
published in the USP Dictionary of USAN and International Drug Names.


“Concentrate” nomenclature



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Some drug substances are available as concentrated solutions or mixtures of solids (dispersions) and are
intended to be used as intermediates for making final formulations. Examples include Isosorbide
Concentrate (used to prepare Isosorbide Oral Solution) and Glutaral Concentrate (used to prepare
Glutaral Disinfectant Solution).



“Diluted” nomenclature
Another class of preparations that is not intended for direct administration to either humans or animals is
the “diluted” articles. In most cases, dilution is necessary for safety reasons; examples include Diluted
Isosorbide Mononitrate and Diluted Nitroglycerin.

“Hydrous” nomenclature
It is no longer preferred to use the term “hydrous” in monograph titles for drug substances. Water of
hydration in drug substances is not included in the name. Similarly, the term “anhydrous” is typically
not preferred.
                                            Drug Products
Entries in this section constitute an alphabetic listing of dosage forms, including considerations and
examples, as well as general nomenclature practices. Dosage forms in this section are also addressed in
USP General Chapter <1151> Pharmaceutical Dosage Forms. The approach taken in General Chapter
<1151> is to classify dosage forms by physical characteristic. For example, solution dosage forms have
certain attributes in common regardless of the route of administration. This guideline recognizes the
necessity, when naming official articles, of indicating information beyond the physical form. Every
attempt is made to accommodate these differences in approach by including entries in General Chapter
<1151> corresponding to names of official articles with reference to appropriate entries representing
physical characteristics for those dosage forms within the chapter. General Chapter <1151> includes a
glossary providing a compilation of definitions relating to dosage form terminology. The glossary serves
as a source, not only of preferred terms but also of nomenclature not preferred in the naming of
compendial articles.
Many monograph titles were adopted before the establishment of the title formats and nomenclature
policies. Pre-existing monograph titles have been aligned with current nomenclature practices in many
instances. However, alignment with current nomenclature practices has not always occurred for various


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reasons. Therefore, existing monograph titles that do not comply with current nomenclature practices
should not be interpreted as precedents for other monograph titles.


                                      General Nomenclature Practices
     Dosage Form in Nomenclature
      •   Generally, the dosage form title appears in the following format:
               [DRUG] [ROUTE OF ADMINISTRATION] c [DOSAGE FORM]
     Route of Administration in Nomenclature
      •   The [ROUTE OF ADMINISTRATION] is omitted from dosage form titles in which the route of
          administration is understood. The general form of the monograph title then becomes [DRUG]
          [DOSAGE FORM]. Some examples are provided below; please also refer to the specific dosage
          form entries for more detailed considerations.
               o The term “oral” will not be included as the route of administration for orally administered
                   capsules, tablets, and lozenges. However, if some other route of administration is
                   intended (e.g., sublingual), the route will be included in the monograph title.
               o The route of administration is omitted for drugs that are injected, because the route (e.g.,
                   intravenous, intramuscular, subcutaneous) must appear on labels and in labeling.
               o The route of administration is omitted for most topically applied products, i.e., creams,
                   ointments, lotions, and pastes. However, if some other route of administration is
                   intended (e.g., ophthalmic), the route will be included in the monograph title. For animal
                   drug products that are topically applied to the skin and intended to achieve a systemic
                   effect, “transdermal” is typically included as the route of administration in the
                   monograph title.
               o Some products intended for buccal administration were subsequently approved for
                   sublingual administration. The current name of the product will remain unchanged and an
                   additional route of administration will be addressed in the labeling. This practice may be
                   applied to any product with a new permitted route of administration as long as the
                   original route is still valid.



c
    Where applicable

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  Terms used in Nomenclature: “for,” “in,” or “and”
   •   Use of the term “for”:
       o The term “for” is included in names of solid preparations that must be dissolved or
            suspended in a suitable liquid to obtain a dosage form suitable for administration. The
            general format becomes [DRUG] for [ROUTE OF ADMINISTRATION] [DOSAGE
            FORM], e.g., Ampicillin for Oral Suspension, Aminolevulinic Acid Hydrochloride for
            Topical Solution.
       o In some instances, the drug is supplied in one dosage form for the preparation of the intended
            dosage form (e.g., a tablet is used to make a suspension). In such cases, the dosage form
            provided in the container is named first and the word “for” appears, followed by the final
            dosage form that is suitable for administration. The general format becomes [DRUG]
            [DOSAGE FORM] for [ROUTE OF ADMINISTRATION] [DOSAGE FORM], e.g.,
            Everolimus Tablets for Oral Suspension. See the Solutions and Suspensions sections for
            further information on this nomenclature practice.
   •   Use of the term “and”:
       o Where all drug substances are active, the term “and” is used between the drug substances in
            the monograph title (e.g. Acetaminophen and Codeine Phosphate Tablets).
       o Where the vehicle is therapeutically active or equivalent to another component, the word
            “and” is used in the monograph title (e.g., Dextrose and Sodium Chloride Injection).
   •   Use of the term “in”:
       o Where one substance is merely the carrier for administering the therapeutic agent, the word
            "in" is used in the monograph title (e.g., Potassium Chloride in Dextrose Injection).


  Punctuation Used in Nomenclature: Brackets and Braces
   •   Brackets [ ] are used in compendial nomenclature to indicate that the appropriate term(s) for the
       word(s) used within the brackets are required.
            o For instance, [DRUG] must display a drug name (e.g., Acyclovir), and [DOSAGE
               FORM] must display the appropriate dosage form (e.g. Tablets).
   •   Braces { } are used in compendial nomenclature to indicate that the appropriate term(s) for the
       word(s) enclosed in the braces are included in the name when applicable. The dosage form


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           information explains how the terms should be used, for example: “Circumstances may call for
           specifying a special use unrelated to the route of administration. Such products will be named
           according to the format [DRUG]{FOR}{QUALIFIER} [DOSAGE FORM]– (Glutaral
           Disinfectant Solution).” d
     Inserts and Suppositories
      •    The term “Vaginal Inserts,” rather than “Vaginal Tablets,” “Vaginal Capsules,” or “Vaginal
           Suppositories,” is used in the title of this general type of vaginal preparation to decrease the
           potential for misadministration of these products. The term “Vaginal” is also preferred, rather
           than “Intravaginal,” as the defining term for the administration route.
      •    The term “Suppositories” is used in the titles of solid preparations that are intended for rectal
           administration.
     Specific Administration Instructions are Not Included in Titles
      •    Any specific instructions for administration, e.g., opening and sprinkling the content of the
           capsule on soft food, shall be included in the labeling, but are not part of the compendial name.
“Hydrous” Nomenclature
Water of hydration in drug substances is not included in the drug product name. It is no longer preferred
to use the term “hydrous,” in monograph titles. Similarly, the term “anhydrous” is typically not preferrd.


Modified Release in Dosage Forms
Dosage forms may be formulated such that the drug release is modified. There are two types of
modified-release products: delayed-release and extended-release.
Delayed-Release:
Delayed-release products are deliberately modified to delay release of the drug substance for some
period of time after initial administration. Oral products sometimes are formulated with acid-resistant or
enteric coatings to protect acid-labile drug substances from the gastric environment or to prevent adverse
events such as irritation. Delayed release of the drug substance may also occur by means of a
formulation such as gastro-retentive technology.
Extended-Release:
Extended-release products are formulated in a manner that makes the drug substance available over an


d
    Example taken from Solutions section of the Nomenclature Guidelines

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extended period of time following administration, compared to that observed or anticipated for an
immediate-release dosage form. Descriptors such as “prolonged-release,” “repeat-action,” “controlled-
release,” “long-acting,” “sustained-release,” and their corresponding acronyms should not be used to
describe such dosage forms. The term “extended-release” is used for compendial nomenclature.


In cases of drug products exhibiting more than one release characteristic, the following nomenclature
practices are applicable:
    •   The term Immediate-Release is never used in drug product nomenclature
    •   Combination of Immediate-Release and Extended-Release is referred to as Extended-Release
    •   Combination of Immediate-Release and Delayed-Release with at least one ingredient exhibiting
        both release characteristics is referred to as Extended-Release
    •   Combination of Immediate-Release and Delayed-Release where no ingredient exhibits both
        release characteristics is referred to as Delayed-Release
    •   Combination of Extended-Release and Delayed-Release is referred to as Extended-Release
The use of the term “prompt” in monograph titles, as in the official monograph “Prompt Phenytoin
Sodium Capsules,” is no longer preferred.


Compounded Preparation Titles
    •   The monograph title for an official compounded preparation uses the following convention:
        [DRUG SUBSTANCE] Compounded [ROUTE OF ADMINISTRATION] [DOSAGE FORM] e
        (e.g., Baclofen Compounded Oral Suspension)
    •   The monograph title for an official compounded preparation for use in only animal patients uses
        the following convention:
        [DRUG SUBSTANCE] Compounded [ROUTE OF ADMINISTRATION] [DOSAGE FORM],
        Veterinary (e.g., Atenolol Compounded Oral Suspension, Veterinary).
Lipid Complexes




e
 The word “Compounded” was approved for use in compounded monograph titles by the Nomenclature, Safety, and
Labeling Expert Committee in August 2012.

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   •   Lipid complexes are chemically and physically defined nonvesicular associations of drugs with
       certain lipids. The general format used when naming a lipid complex is [DRUG] Lipid Complex
       Type [X] [DOSAGE FORM].
   •   The first lipid complex approved for a particular drug and dosage form is assumed to be type A,
       and the type is not given (i.e., “Type A” is not included). For subsequent products of the same
       drug and dosage form, the type is listed, and “X” is replaced sequentially with B, C, D ... Z.
Liposomes
   •   Liposomes are microvesicles composed of a bilayer and/or a concentric series of multiple
       bilayers separated by aqueous compartments formed by amphipathic molecules such as
       phospholipids that enclose a central aqueous compartment. The general format used when
       naming a liposomal drug product is [DRUG] Liposome Type [X] [DOSAGE FORM] or
       [DRUG] Pegylated Liposome Type [X] [DOSAGE FORM].



   •   The first liposomal product approved for a particular drug and dosage form is assumed to be type

       A, and the type is not given (i.e., “Type A” is not included). For subsequent products of the same

       drug and dosage form, the type is listed, and “X” is replaced sequentially with B, C, D ... Z.

Radiopharmaceuticals

Radiopharmaceuticals are drug products labeled with a radioisotope. They are used for diagnostic

imaging or therapy. Standard nomenclature practices for dosage forms apply to radiopharmaceuticals.

The following discussion describes aspects unique to this class of products: Each name must specify the

substance, the isotope, and the dosage form. The route of administration is also included when

appropriate for a dosage form. Many radiopharmaceuticals contain a ligand (sometimes an antibody

conjugated with a ligand that directs the isotope to accumulate in a selected organ or tissue), which

forms a complex with the isotope upon reconstitution and/or mixing in the vehicle. USP monograph

titles are established for the product which is administered. However, the products which are marketed




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are frequently available as “kits” which require the addition of the radioisotope and other manipulation

to produce the final dosage form.

Radiopharmaceuticals Nomenclature

[DRUG] [ISOTOPE] {ROUTE OF ADMINISTRATION} [DOSAGE FORM]

[DRUG] [ISOTOPE] Capsules (Urea C 14 Capsules)

[DRUG] [ISOTOPE] Injection (Fludeoxyglucose F 18 Injection)

[DRUG] [ISOTOPE] [LIGAND] {ROUTE OF ADMINISTRATION} [DOSAGE FORM]
[DRUG] [ISOTOPE] [LIGAND] Injection (Indium In 111 Pentetate Injection, Technetium Tc 99m
Sestamibi Injection)


A radiopharmaceutical intended for ex-vivo radiolabeling with subsequent administration of the labeled
product will not include the ultimate route of administration in the monograph title. Instead, the drug
product is named according to the format:
[DRUG] [ISOTOPE] [DOSAGE FORM] (Indium In 111 Oxyquinoline Solution)
The term used for the dosage form portion of the title will describe the physical dosage form. The phrase
“for radiolabeling” will also appear elsewhere in the product labeling.
Drug Products Containing Salts
The titles of USP monographs for drug products and compounded preparations formulated with a salt of
an acid or base generally use the name of the active moiety. The strength of the product or preparation is
also expressed in terms of the active moiety.
An active moiety is the molecule or ion, excluding those appended portions of the molecule that cause
the drug to be a salt (including a salt with hydrogen or coordination bonds), or other noncovalent
derivative (such as a complex, chelate, or clathrate) of the molecule.
Quaternary ammonium salts are exceptional chemical entities, because they cannot exist without the
counterion, but the pharmacological activity is usually provided by the charged cation.
Drug products containing such salts shall be named, and the strength shall be expressed, in terms of this
charged cation. Generally, the title appears in the following format:
[DRUG] [ROUTE OF ADMINISTRATION] [DOSAGE FORM] (Umeclidinium Inhalation Powder)

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This Policy is followed by USP in naming drug products and compounded preparations that are newly
recognized in the USP.
   •   Products containing components with the same counterion are named using a plural form of the
       salt, e.g., sulfates, hydrochlorides.
   •   In names of products that are salts of polyvalent acids or bases: prefixes indicating
       stoichiometry, e.g., “di-” or “tri-”, etc… are not preferred f
   For additional guidance for implementation or exceptions to the Policy, refer to Guidance for
   Implementation and Exceptions: The Monograph Naming Policy for Salt Drug Substances in Drug
   Products and Compounded Preparations in General Chapter <1121> Nomenclature.



                      Nomenclature Guidelines for Specific Dosage Forms
The following presents a brief description of the particular dosage forms with specific
naming examples for each.
Aerosols
Aerosols are dosage forms that are packaged under pressure and contain therapeutic agent(s) and a
propellant that are released upon actuation of an appropriate valve system. Aerosols are intended for
topical application to the skin as well as local application into the nose (nasal aerosols), mouth (lingual
aerosols), or lungs (inhalation aerosols). These products may be fitted with valves enabling either
continuous or metered-dose delivery. All aerosols are assumed to be metered except for the topical
aerosols, which are not metered. Details pertaining to metering are part of the labeling and are not
included in the name.
Aerosols Nomenclature
[DRUG] [ROUTE OF ADMINISTRATION] Aerosol
[DRUG] Inhalation Aerosol (i.e., for oral inhalation) (Mometasone Furoate and Formoterol Fumarate
Inhalation Aerosol)
[DRUG] Lingual Aerosol
[DRUG] Nasal Aerosol (Ciclesonide Nasal Aerosol)
[DRUG] Topical Aerosol (Tolnaftate Topical Aerosol)

f
  Excerpt taken from General Chapter <1121> Nomenclature - MONOGRAPH NAMING POLICY FOR SALT DRUG
SUBSTANCES IN DRUG PRODUCTS AND COMPOUNDED PREPARATIONS

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Beads
Not preferred, see Pellets


Capsules
Capsules are solid dosage forms in which the drug substance and any excipients are enclosed within a
soluble container or shell or coated on the capsule shell. Capsules are assumed to be for oral
administration, so there is no need to include the route of administration in the monograph title. The
capsule shell may be composed of two pieces (usually hard shell), or it may be composed of a single
piece (usually soft gelatin). The composition of the shell or the physical form of the capsule contents
(liquid or solid) is not conveyed in the monograph title.
Capsules Nomenclature
[DRUG] {RELEASE CHARACTERISTICS} Capsules
The term noted above is described below:
{RELEASE CHARACTERISTICS}: extended-release, delayed-release


[DRUG] Capsules (Tamsulosin Hydrochloride Capsules, Rifampin and Isoniazid Capsules)
[DRUG] Delayed-Release Capsules (Omeprazole Delayed-Release Capsules)
[DRUG] Extended-Release Capsules (Chlorpheniramine Maleate Extended-Release Capsules)


Caplets
Not preferred, see Tablets


Collodions
Not preferred, see Solutions
The term is reserved for Pyroxylin in Alcohol and Ether.


Concentrates
Historically, “concentrate” had two meanings: one was simply reflecting a high concentration that was
sometimes referred to as “high potency,” and the other was that the product must be diluted before
administration. Not all “high potency” products had to be diluted, so the word “concentrate” lost its

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definitive meaning and created confusion. The term “concentrate” is being phased out of the
nomenclature for drug products. Instead, the appropriate dosage-form terms, e.g., solution or suspension,
should be used. When a drug product is to be diluted, the statement “must be diluted” is to be displayed
prominently on the label. However, there are several historical exceptions. Other than those historical
exceptions, use of the word “Concentrate” for drug products is restricted to one specific monograph:
Potassium Chloride for Injection Concentrate.


For additional information about the use of “concentrate” pertaining to drug substances, see the Drug
Substances section.



Creams
Creams are semisolid emulsion dosage forms (see Emulsions for additional information) that often
contain more than 20% water and volatiles and/or less than 50% hydrocarbons, waxes, or polyols as the
vehicle for the drug substance. Creams are generally intended to be applied topically to the skin or to a
mucous membrane. Typically, any other administration route shall be reflected in the compendial name.
However, rectally administered creams can often be applied topically as well, and would not include the
rectal route in the name even if labeling is targeted to rectal use.


Creams Nomenclature
[DRUG] {ROUTE OF ADMINISTRATION} Cream
[DRUG] Cream (Clotrimazole Cream)
[DRUG] Vaginal Cream (Estradiol Vaginal Cream)


Elixirs
Not preferred, see Solutions


Emulsions
Emulsions are dosage forms consisting of a two-phase system composed of at least two immiscible
liquids, one of which is dispersed as droplets (internal or dispersed phase) within the other liquid
(external or continuous phase) and generally stabilized with one or more emulsifying agents. Emulsion


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is not used as a dosage-form term if a more specific term is applicable (e.g., Cream, Lotion, or
Ointment).
For Injectable Emulsions see Injections.


Emulsions Nomenclature
[DRUG] [ROUTE OF ADMINISTRATION] Emulsion
[DRUG] Ophthalmic Emulsion (Cyclosporine Ophthalmic Emulsion)



Films
Films are thin sheets that are placed in the oral cavity. They contain one or more layers. A layer may or
may not contain a drug substance.


Films Nomenclature
[DRUG] [ROUTE OF ADMINISTRATION] Film
[DRUG] Buccal Film (Buprenorphine and Naloxone Buccal Film)
[DRUG] Oral Film (Ondansetron Oral Film)
[DRUG] Sublingual Film (Buprenorphine and Naloxone Sublingual Film)


Foams
Foams are dispersions of gas in a liquid or solid continuous phase, wherein the liquid or solid contains
the drug substance and suitable excipients. A foam may contain one or more drug substances,
surfactants, and aqueous or nonaqueous liquids, and is produced with or without the aid of
propellants. A foam can be formulated to quickly break down into a liquid or to remain as a foam to
ensure prolonged contact.


Foams Nomenclature
[DRUG] [ROUTE OF ADMINISTRATION] Foam
[DRUG] Topical Foam (Calcipotriene Topical Foam, Tazarotene Topical Foam)
[DRUG] Rectal Foam (Budesonide Rectal Foam)




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Gases (Medical Gases)
Medical gases are products that are administered directly as a gas. A medical gas has a direct
pharmacological action or acts as a diluent for another medical gas. The name of the specific gas is to be
used without the term “gas”.


Gases Nomenclature
[GAS] (Oxygen)


Gels
Gels are semisolid systems consisting either of suspensions of small inorganic particles or of organic
molecules interpenetrated by a liquid. Gels can be used to administer drugs by topical or mucosal routes.
The nomenclature committee recommended that from January 11, 2010, forward, the administration
route shall be specified in the title (e.g., Topical, Vaginal, Periodontal, etc.).


Although the term “Jelly” has been used historically, it is no longer acceptable to use this term in a
pharmaceutical context because it has been associated with medication errors related to
misadministration of the product. The existing monograph (Lidocaine Hydrochloride Jelly) became
official before 1985 and will not be renamed, but it is understood that in the future the term “Gel” is to
be used.


In a two-phase system, if the particle size of the dispersed phase is relatively large, the gel mass is
sometimes referred to as a magma (e.g., Bentonite Magma). Magma is a historical name, and it is no
longer preferred.


Both gels and magmas may be thixotropic, forming semisolids on standing and becoming less viscous
on agitation.


Gel and Gels Nomenclature
Gel (singular) is understood to be a continuous dosage form.


[DRUG] [ROUTE OF ADMINISTRATION] Gel

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[DRUG] Dental Gel
[DRUG] Nasal Gel (Testosterone Nasal Gel)
[DRUG] Ophthalmic Gel (Lidocaine Hydrochloride Ophthalmic Gel)
[DRUG] Oral Gel
[DRUG] Periodontal Gel
[DRUG] Topical Gel (Erythromycin Topical Gel, Erythromycin and Benzoyl Peroxide Topical Gel)
[DRUG] Vaginal Gel (Metronidazole Vaginal Gel)


Chewable Gels
Chewable gels are used to deliver drug substances or dietary supplement ingredients via the oral route.
Chewable gels can consist of all or some of the following components: gelling agent(s), sugars, water,
sweeteners, and flavoring agents. The sweeteners and flavoring agents are intended to enhance
consumer acceptance and mask the taste of the delivered labeled drug substance or dietary supplement.
Chewable gels maintain their molded shape, are elastic, and yield to mastication. They are intended to
be chewed before swallowing. Chewable gels are also known as “gummies” in the confectionary and
dietary supplement industries, but that term is not used in official article titles.


Chewable Gels Nomenclature
The term “gels” (plural) is understood to refer to products formulated as discrete dosage units.
[DRUG] Chewable Gels (Ascorbic Acid Chewable Gels)


Granules
Granules are a solid dosage form composed of dry aggregates of powder particles that may contain one
or more drug substances, with or without excipients. This term should be used in drug product
nomenclature when the drug is administered as granules, e.g. product is packaged as granules intended
to be swallowed or granules can be sprinkled on soft food or dissolved in liquid prior to administration.
The route of administration shall be specified in the title.
For granules that are reconstituted to make the administered dosage form, use the final dosage form in
the title and the term “for” in front of it, e.g. in the case of granules reconstituted to make an oral
solution, the appropriate nomenclature would be [DRUG] for Oral Solution.


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For granules that may be formulated in modified-release dosage forms, the appropriate nomenclature
would include the release characteristics (the term Delayed-Release or Extended-Release is to be
substituted for Release Characteristics in the example below).


Granules Nomenclature
[DRUG] {RELEASE CHARACTERISTICS} [ROUTE OF ADMINISTRATION] Granules
[DRUG] Oral Granules (Ivacaftor Oral Granules)
[DRUG] Delayed-Release Oral Granules (Rabeprazole Sodium Delayed-Release Oral Granules)


Gums
A medicated gum is a semisolid dosage form designed to be chewed rather than swallowed. Medicated
gums release the drug substance(s) into the saliva. Medicated gums can deliver therapeutic agents and
are generally for systemic absorption via the buccal or gastrointestinal routes (e.g., nicotine or aspirin).
Because gums are intended to be chewed, there is no need to include the route of administration, oral, in
the monograph title. The singular form, gum, is used in the title.


Gums Nomenclature
[DRUG] Gum (Nicotine Polacrilex Gum)


Implants
Implants are long-acting dosage forms that provide continuous release of the drug substance, often for
periods of months to years. Implants are usually administered by means of a surgical procedure or by a
suitable special injector (e.g., trocar). Implants are available in a variety of shapes, sizes, and materials
including pellets, resorbable microparticles, polymer implants (biodegradable or non-biodegradable),
and metal or metal/plastic implants (osmotic pumps and stents). An implant can have a systemic or local
effect. The specific route of administration is typically not included in the monograph title, unless there
is only a single anatomical location for the implant. Generally, the plural form, Implants, is used in the
monograph titles. However, depending on how it is packaged, the singular form, Implant, may be
appropriate when titling the product.


Implants Nomenclature

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[DRUG] [ROUTE OF ADMINISTRATION] Implants
[DRUG] Implants (Testosterone Implant, Buprenorphine Implants)
[DRUG] Intravitreal Implants (Ganciclovir Intravitreal Implant)
[DRUG] Sinus Implants


Infusions
For human drug products that are infused, see Injections for appropriate nomenclature.


Injections
For compendial naming purposes, injections are preparations intended for parenteral administration or
for constituting or diluting a parenteral article prior to administration. Drugs that are injected may be
administered via various target tissues, e.g., intravenous, intramuscular, subcutaneous, or intrathecal.
USP and FDA are in agreement that the target tissue is specified on the container label and in labeling
and should not be in the compendial name [21 CFR 201.100(b)(3)]. Further, many drugs have more than
one target tissue for administration, and multiple routes could not reasonably be cited in the name. The
USP–NF currently recognizes seven categories of injections:
   1. [DRUG] Injection — Liquid preparations that are drug substances or solutions thereof.
   2. [DRUG] for Injection — Dry solids that, upon the addition of a suitable liquid, yield solutions
       conforming in all respects to the requirements for Injections.
   3. [DRUG] Injectable Emulsion — Liquid preparations of drug substances dissolved or dispersed
       in a suitable emulsion medium.
   4. [DRUG] Injectable Suspension —Liquid preparations consisting of solids suspended in a
       liquid.
   5. [DRUG] for Injectable Suspension — Dry solids that, upon the addition of a suitable liquid,
       yield preparations conforming in all respects to the requirements for Injectable Suspensions.
   6. [DRUG] Extended-Release Injectable Suspension —Liquid preparations consisting of solids
       suspended in a suitable liquid formulated to allow the drug substance to be available over an
       extended period of time.
   7. [DRUG] for Extended-Release Injectable Suspension — Dry solids that, upon the addition of
       a suitable liquid, yield preparations conforming in all respects to the requirements for Extended-
       Release Injectable Suspensions.

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Injectable products that are formulated as a solution or suspension, and are intended to be diluted before
being injected (including addition to intravenous fluids) shall be named either “injection” or “injectable
suspension.” Dilution instructions are to be included in the labeling of the product. For products
intended for parenteral administration, use of the word “Concentrate” in the monograph title is restricted
to one specific monograph, Potassium Chloride for Injection Concentrate.

For more information on concentrates, see the Drug Substance and Drug Product sections.


Injectable products intended to be infused (commonly marketed in containers of 50 mL to 1000 mL)
shall have the vehicle specified in the compendial name, and the general form becomes
[DRUG] in [VEHICLE] Injection (Dobutamine in Dextrose Injection, Cimetidine in Sodium Chloride
Injection).
For these parenteral solutions, the concentration of each vehicle named in the official title is labeled as if
part of the official title, e.g., Dextrose Injection 5%, or Dextrose (5%) and Sodium Chloride (0.2%)
Injection. The same principle of naming official titles for these parenteral solutions applies when the
marketed products contain additional drug substances. Examples of vehicle formats that currently
appear in USP monograph titles are:
     1. [DRUG] in Dextrose Injection
     2. [DRUG] in Dextrose and Sodium Chloride Injection
     3. [DRUG] in Lactated Ringer’s and Dextrose Injection
     4. [DRUG] in Sodium Chloride Injection


For injectable Lipid Complexes, see Lipid Complexes
For injectable Liposomes, see Liposomes


Injections Nomenclature
[DRUG] Injection (Epinephrine Injection, Fluorouracil Injection)
[DRUG] for Injection (Nafcillin for Injection)
[DRUG] Injectable Emulsion (Propofol Injectable Emulsion)
[DRUG] Injectable Suspension (Medroxyprogesterone Acetate Injectable Suspension, Triamcinolone
Acetonide Injectable Suspension)


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[DRUG] for Injectable Suspension (Spectinomycin for Injectable Suspension)
[DRUG] Extended-Release Injectable Suspension (Paliperidone Palmitate Extended-Release
Injectable Suspension)
[DRUG] for Extended-Release Injectable Suspension (Olanzapine for Extended-Release Injectable
Suspension)


Inserts
Inserts are solid dosage forms intended to be placed in a naturally occurring body cavity other than the
mouth or rectum. In 2007, due to instances of misadministration of products named vaginal tablets and
vaginal capsules, the nomenclature committee approved the use of “insert” rather than the more specific
descriptor of the dosage form (i.e., tablets, capsules) for all routes other than rectal. Drug products
inserted rectally are called suppositories (see Suppositories).


Inserts Nomenclature
[DRUG] [ROUTE OF ADMINISTRATION] Inserts
[DRUG] Urethral Inserts
[DRUG] Vaginal Inserts (Estradiol Vaginal Inserts)


Irrigations
Irrigations are sterile solutions intended to bathe or flush open wounds or body cavities. Irrigations are
used to rinse body surfaces other than the mouth. (see Rinse).
Historically, the route of administration for irrigations has not been included in the monograph titles
since they were understood to be used for wounds or body cavities. However, highly specific routes of
administration should be defined.


Irrigations Nomenclature
[DRUG] {ROUTE OF ADMINISTRATION} Irrigation
[DRUG] Irrigation (Sodium Chloride Irrigation)
[DRUG] for Irrigation
[DRUG] Intraocular Irrigation


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Jelly
Non-preferred term. See Gels.


Liquids
A liquid dosage form consists of a pure chemical in its liquid state. Examples include mineral oil,
isoflurane, and desflurane. This dosage form term is not applied to solutions. Typically, the term
“liquid” is not used in drug product monograph titles, with the exception of animal drugs for use in
medicated articles and medicated feeds (see Nomenclature for Animal Drugs for Use in Animal
Feeds).


Lotions
Lotions are emulsified liquids (see Emulsions for additional information) intended to be applied
topically on the skin. The topical route of administration is understood and is not indicated in the
compendial name. Lotions share many characteristics with creams, but are more fluid and pourable.
They can be applied more easily to large surfaces of the skin than can semisolid preparations.
Historically, some topical suspensions such as Calamine Lotion have been called lotions, but this
nomenclature is no longer preferred.


Lotions Nomenclature
[DRUG] Lotion (Betamethasone Valerate Lotion, Triamcinolone Acetonide Lotion)


Lozenges
Lozenges are solid oral dosage forms designed to dissolve or disintegrate slowly in the mouth. Therefore
there is no need to include the route of administration in the title. Lozenges contain one or more drug
substances that are slowly liberated from the typically flavored and sweetened base. Their therapeutic
action can be local or systemic. There are a number of historically used terms for molded lozenges,
which are now classified as non-preferred terms by the nomenclature committee: [cough] drops,
pastilles, lollipops, and troches.


Lozenge Nomenclature
[DRUG] Lozenges (Clotrimazole Lozenges)

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Mouthwash
Not preferred, see Rinse


Ointments
Ointments are semisolid preparations that usually contain less than 20% water and volatiles and more
than 50% hydrocarbons, waxes, or polyols as the vehicle. Ointments are generally intended to be applied
topically to the skin or to a mucous membrane. Any other administration route shall typically be
reflected in the compendial name. However, rectally administered ointments can often be applied
topically as well, and would not include the rectal route in the name even if labeling is targeted for rectal
use.


Ointments Nomenclature

[DRUG] [ROUTE OF ADMINISTRATION] Ointment

[DRUG] Ointment (Bacitracin Ointment, Fluocinolone Acetonide Ointment)

[DRUG] Nasal Ointment

[DRUG] Ophthalmic Ointment (Neomycin and Polymyxin B Sulfates and Bacitracin Ophthalmic
Ointment)



Pastes
Pastes are semisolid dosage forms that contain a high percentage (e.g., 20%–50%) of finely dispersed
solids, have a stiff consistency, are usually intended for topical application, and serve as a protective
coating over body areas to which they are applied. Orally administered pastes may be indicated for
adhesion to the teeth or mucous membranes for a local effect. Pastes are assumed to be topical unless
specified otherwise. Typically, any other administration route shall be reflected in the compendial name.


Pastes Nomenclature
[DRUG] [ROUTE OF ADMINISTRATION] Paste
[DRUG] Paste (Zinc Oxide Paste)


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[DRUG] Oral Paste


Patch
Not preferred, see Systems




Pellets
Pellets are small solid masses consisting of a drug substance (with or without excipients) made by
compression or molding. Existing official monographs for pellets are historical, as this term is no longer
used in compendial names.

For pellets that are administered by implantation, see Implants.

For pellets that are encapsulated, see Capsules.


Plasters
Not preferred, see Systems



Pledgets
This historical term means a small compress or tuft, usually of cotton or cotton wool, used to apply
disinfectant or medicament to the skin. There is currently one example in the USP–NF, Erythromycin
Pledgets. This term is no longer preferred.




Powders
Powders are a dosage form defined as a solid or a mixture of solids in a finely divided state intended for
internal or external use. The word “Powder” will only be included in the compendial name when the
product is directly administered, such as a powder that is dusted on the skin or one that is inhaled.


Powders Nomenclature


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[DRUG] [ROUTE OF ADMINISTRATION] Powder
[DRUG] Inhalation Powder (Fluticasone Propionate Inhalation Powder)
Inhalation powders are assumed to be for oral inhalation. Inhalation powders can be packaged in a
variety of ways, e.g., capsules, blisters, electrospray devices. All of these products are named inhalation
powders.
[DRUG] Nasal Powder
[DRUG] Oral Powder (Atazanavir Oral Powder)
[DRUG] Topical Powder (Nystatin Topical Powder)


Powders that are Reconstituted
         Powders can also be reconstituted with an appropriate vehicle to provide a final dosage form.
         Because the product will not be administered as a powder, the word “Powder” shall not appear in
         the compendial name. Instead, the word “for” is used to indicate that the product is intended for
         reconstitution, such as Ampicillin for Oral Suspension. The format to be used with powders that
         are reconstituted is as follows:


         [DRUG] for Injection – see Injections
         [DRUG] for [ROUTE OF ADMINISTRATION] Solution – see Solutions
         [DRUG] for [ROUTE OF ADMINISTRATION] Suspension – see Suspensions


The term “soluble” is used in some official USP monographs for animal drug products, but is no longer
preferred (e.g., Tetracycline Hydrochloride Soluble Powder).
The historical monograph for Absorbable Dusting Powder was introduced in the USP XV (1955). The
term “dusting” is non-preferred for use in monograph titles.



Rinses


Rinses are liquid preparations used to cleanse by flushing. This dosage form is generally swished in the
mouth and then expectorated. A rinse has sometimes been called by the non-preferred term




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“mouthwash.” See Irrigations for information on preparations used to flush body surfaces other than
the mouth.


Rinses Nomenclature
[DRUG] Rinse


Shampoos (Medicated)
A shampoo is a solution or suspension dosage form used to clean the hair and scalp. It may contain a
drug substance intended for topical application to the scalp followed by rinsing with water. Topical
administration is understood, therefore there is no need to specify the route in the title.


Shampoos Nomenclature
[DRUG] Shampoo (Lindane Shampoo)
Occasionally a Topical Suspension (or Solution) may also be labeled for use as a Shampoo (e.g.,
Selenium Sulfide Topical Suspension).



Soaps (Medicated)
Soap is the alkali salt(s) of a fatty acid or mixture of fatty acids used to cleanse the skin. Soaps used as
dosage forms may contain a drug substance intended for topical application to the skin followed by
rinsing with water.
[DRUG] Soap (Green Soap)


Solutions

Solutions are liquid preparations containing one or more drug substances dissolved in a suitable solvent
or mixture of mutually miscible solvents. Solutions may be administered by various routes of
administration including: Inhalation, Intraocular, Intravesical, Nasal, Ophthalmic, Oral, Otic, Parenteral
(Injection), Rectal, and Topical. Nasal solutions, e.g., Tetrahydrozoline Hydrochloride Nasal Solution,
are intended to be instilled into the nostril and are typically non-metered. For animal drugs, particularly
for products intended for aquaculture, solutions may be administered by immersion (i.e., partial or
complete submersion of the animal in the solution).


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In some cases, drug products are dispensed as soluble solids or soluble mixtures of solids in the form of
powder or granules, with the intent of dissolving them in a solvent prior to administration. The name of
such products shall be in the format [DRUG] for [ROUTE OF ADMINISTRATION] Solution.
Solutions can also be prepared from other dosage forms, such as tablets, and the names of such products
shall be in the format [DRUG] [DOSAGE FORM] for [ROUTE OF ADMINISTRATION] Solution
(e.g., Aspirin and Caffeine Effervescent Tablets for Oral Solution).

The drug substance and excipients must all go into solution for the final product to be called a solution.
If the drug substance is soluble, but the excipients are not, the final dosage form is a Suspension.


Solutions Nomenclature
[DRUG] {FOR} [ROUTE OF ADMINISTRATION] Solution
[DRUG] for Effervescent Oral Solution
[DRUG] Effervescent Tablets for Oral Solution (Potassium Bicarbonate Effervescent Tablets for Oral
Solution)
[DRUG] Immersion Solution
[DRUG] Inhalation Solution (Ipratropium Bromide Inhalation Solution)
[DRUG] for Inhalation Solution (Ribavirin for Inhalation Solution)
[DRUG] Solution for Inhalation (This is an atypical use of the term “for.” Solution for Inhalation is a
solution to be diluted before administration using a nebulization system.)
[DRUG] Intraocular Solution (Carbachol Intraocular Solution)
[DRUG] Intravesical Solution (Valrubicin Intravesical Solution)
[DRUG] Nasal Solution (Cromolyn Sodium Nasal Solution)
[DRUG] Ophthalmic Solution (Fluorescein Sodium and Benoxinate Hydrochloride Ophthalmic
Solution, Tobramycin Ophthalmic Solution)
[DRUG] for Ophthalmic Solution (Echothiophate Iodide for Ophthalmic Solution)
[DRUG] Oral Solution (Guaifenesin Oral Solution, Oxycodone Hydrochloride Oral Solution,
Potassium Chloride Oral Solution)
[DRUG] for Oral Solution (Penicillin V Potassium for Oral Solution, Vancomycin Hydrochloride for
Oral Solution)




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[DRUG] Otic Solution (Acetic Acid Otic Solution, Neomycin and Polymyxin B Sulfates and
Hydrocortisone Otic Solution)
[DRUG] for Otic Solution
[DRUG] Rectal Solution (Sodium Phosphates Rectal Solution)
[DRUG] Topical Solution (Clotrimazole Topical Solution, Coal Tar Topical Solution, Hydrogen
Peroxide Topical Solution, Lidocaine Hydrochloride Topical Solution)
[DRUG] for Topical Solution (Mafenide Acetate for Topical Solution)


Occasionally products will be named to accommodate their special use, e.g., Lidocaine Hydrochloride
Oral Topical Solution was coined to indicate that the drug’s action takes place in the lining of the mouth
rather than in the gastrointestinal tract.
Circumstances may call for specifying a special use unrelated to the route of administration. Such
products will be named according to the format:
[DRUG]{FOR}{QUALIFIER} Solution
[DRUG] Cleansing Solution (Povidone-Iodine Cleansing Solution)
“Solution” may appear without the route of administration in unique circumstances such as when the
solution is:
    a. A disinfectant, because it is not intended for use on the human body (e.g., Glutaral Disinfectant
          Solution)
    b. For ex-vivo use (for example, to radiolabel blood cells that will subsequently be administered to
          the patient; e.g., Indium In 111 Chloride Solution)
    c. Specifically labeled for oral and rectal administration (e.g., Lactulose Solution), where it would
          be misleading as either Oral Solution or Rectal Solution.


See also: Injections, Irrigations, Rinses, Soaps, Shampoos, and Sprays.
Spirits
Spirits were described in the first USP in the year 1820. Spirits are a liquid dosage form composed of an
alcoholic or hydroalcoholic solution of volatile substances. This historical name is a non-preferred
dosage form term. Instead, the term “solution” should be used. However, the term “spirit” remains in the
title of the following monographs: Camphor Spirit, Aromatic Ammonia Spirit, Peppermint Spirit, and
Compound Orange Spirit.

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Sprays
A spray is a preparation that contains drug substance(s) in the liquid state and is intended for
administration as a fine mist, generated by means other than the use of a volatile propellant (see
Aerosols). Most sprays are generated by manually squeezing a flexible container or actuation of a pump
that generates a mist by extruding it through a nozzle.
The intended routes of administration include: Inhalation, Lingual, Nasal, Oral, and Topical. Sprays
intended for the first four routes are assumed to be metered. Topical sprays may or may not be metered,
but are typically not metered. Details pertaining to metering are part of the labeling and are not included
in the name.


Sprays Nomenclature
[DRUG] [ROUTE OF ADMINISTRATION] Spray
[DRUG] Inhalation Spray (Ipratropium Bromide and Albuterol Inhalation Spray)
[DRUG] Lingual Spray (Nitroglycerin Lingual Spray)
[DRUG] Nasal Spray (Fluticasone Propionate Nasal Spray, Sumatriptan Nasal Spray)
[DRUG] Oral Spray (Zolpidem Tartrate Oral Spray)
[DRUG] Topical Spray (Clobetasol Propionate Topical Spray)


Strips
A strip is a dosage form or device in the shape of a long, narrow, thin, absorbent, solid material such as
filter paper. Typically, it is sterile and it may be impregnated with a compound or be gauged to allow
measurements for diagnostic purposes, such as in measuring tear production. The term “strip” should not
be used when another term such as “film” is more appropriate. Strip is only used for diagnostic products.
Otherwise, it is not preferred; See Film.


Strips Nomenclature
[DRUG] [ROUTE OF ADMINISTRATION] Strips (Fluorescein Sodium Ophthalmic Strips)


Suppositories


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Suppositories are solid bodies of various sizes and shapes adapted for introduction into the rectum. They
are formulated to melt, soften, or dissolve at body temperature. The drug substance contained in the
suppository may act locally or may be systemically absorbed. The term “suppository” shall not be used
for products inserted into other body cavities. Instead, the term “insert” should be used (see Inserts).


Suppositories Nomenclature
[DRUG] Suppositories (Acetaminophen Suppositories, Glycerin Suppositories, Prochlorperazine
Suppositories)



Suspensions
Suspensions are liquid preparations containing drug substance(s) and consist of solid particles dispersed
throughout a liquid phase in which the particles are present in excess of the solubility. Dosage forms
categorized as “Suspensions” should always have the intended route of administration included, such as
ophthalmic, oral, otic, or topical. Some animal drug products that are suspensions are approved for the
intramammary route of administration. Some suspensions are prepared and ready for use, while others
are solid mixtures intended for constitution before use with an appropriate vehicle. Such products are
designated “for [ROUTE OF ADMINISTRATION] Suspension.”


Suspensions Nomenclature
[DRUG] {FOR} [ROUTE OF ADMINISTRATION] Suspension
[DRUG] Inhalation Suspension (Budesonide Inhalation Suspension)
[DRUG] Intramammary Suspension (Ceftiofur Intramammary Suspension)
[DRUG] Suspension for Inhalation (This is an atypical use of the term “for.” Suspension for
Inhalation is a suspension to be diluted before administration using a nebulization system.)
[DRUG] Ophthalmic Suspension (Loteprednol Etabonate Ophthalmic Suspension)
[DRUG] for Ophthalmic Suspension
[DRUG] Oral Suspension (Posaconazole Oral Suspension)
[DRUG] Delayed-Release Oral Suspension
[DRUG] Extended-Release Oral Suspension (Carbinoxamine Maleate Extended-Release Oral
Suspension)


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[DRUG] for Oral Suspension (Aprepitant for Oral Suspension)
[DRUG] for Delayed-Release Oral Suspension (Esomeprazole Magnesium for Delayed-Release Oral
Suspension)
[DRUG] for Extended-Release Oral Suspension
[DRUG] Otic Suspension (Ciprofloxacin and Hydrocortisone Otic Suspension)
[DRUG] for Otic Suspension
[DRUG] Rectal Suspension (Mesalamine Rectal Suspension)
[DRUG] Topical Suspension (Spinosad Topical Suspension)
[DRUG] for Topical Suspension


“Suspension” may appear without the route of administration in unique circumstances such as when the
suspension is specifically labeled for oral and rectal administration (e.g., Barium Sulfate Suspension),
where it would be misleading as either Oral Suspension or Rectal Suspension.
See also Injections, Shampoos, Soaps, and Sprays.


Syrups
Non-preferred term. See Oral Solutions, Oral Suspensions.


Systems
Systems are preparations of drug substance(s) in carrier devices, often containing adhesive backing that
are applied topically or inserted into body cavities from which drugs are released in a controlled manner
over a specified period of time or the drug substance is released based on its concentration in the
formulation, after which the carrier device is removed unless otherwise stated in the labeling.
The notation of strength is defined in terms of either the amount of the drug substance released from the
system over a specific period of time, or the drug concentration within the formulation (e.g., the
percentage of the drug). Various routes of administration are possible, so the route must always be
indicated in the compendial name. For example, absorption of the drug substance may take place
through the dermis without specifying the region of the body to which the device is applied, so the route
is named “transdermal.” When a specific location for application is essential for proper use, the name
shall indicate the place or organ where the system is applied, e.g., “intrauterine,” or “ocular,” as the


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route of administration. The term “patch” has sometimes been used, but it is not preferred for use in drug
product monograph nomenclature when referring to a system.


Systems Nomenclature
[DRUG] {SITE OF APPLICATION} System
[DRUG] Buccal System (Testosterone Buccal System)
[DRUG] Intrauterine System (Levonorgestrel Intrauterine System)
[DRUG] Ocular System (Hydroxypropyl Cellulose Ocular System)
[DRUG] Oral Mucosal System (Amlexanox Oral Mucosal System)
[DRUG] Periodontal System (Minocycline Periodontal System)
[DRUG] Topical System
[DRUG] Transdermal System (Clonidine Transdermal System, Estradiol Transdermal System)
[DRUG] Vaginal System (Etonogestrel and Ethinyl Estradiol Vaginal System)


Tablets
Tablets are oral solid dosage forms containing drug substance(s) with or without excipients. Tablets can
be produced in a variety of sizes and shapes. In addition, tablets may be formulated to obtain a desired
method of administration, targeted site of delivery, or performance characteristics; these unique
characteristics may be reflected in the compendial name. The following nomenclature conventions have
been approved:

   1. The format “[DRUG] Tablets” will be used for tablets that are swallowed whole or that MAY be
       chewed or crushed AND for which there is no intended alternative method of administration.
       When appropriate, there will also be a labeling statement indicating that the tablets MAY be
       chewed.
   2. The format “[DRUG] Chewable Tablets” will be used for tablets that MUST be chewed or
       crushed AND for which there is no intended alternative method of administration. There will
       also be a labeling statement indicating that the tablets MUST be chewed.
   3. The format “[DRUG] Tablets for Oral Suspension” or “[DRUG] Tablets for Oral Solution” will
       be used for tablets intended to be dispersed in a liquid before administration. This title will be
       used even if the tablet may also be chewed or swallowed whole. There will also be a labeling


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       statement indicating all methods of administration. For example: “Tablets may be swallowed
       whole, chewed, or dispersed in water or fruit juice.” Crushing a tablet and sprinkling the
       resulting powder over food prior to administration or crushing the tablet and making a slurry or
       solution to enable administration via a nasogastric tube is an option for many immediate-release
       solid oral dosage forms, so these will not be included in the considerations of other intended
       alternative methods of administration for items 1, 2, and 3 above. If a Tablet for Oral Solution
       contains components (usually citric acid or tartaric acid and carbonates or bicarbonates) to
       produce an effervescent solution for oral administration, the name shall be [DRUG] Effervescent
       Tablets for Oral Solution.
    4. Tablets formulated to provide very rapid disintegration upon contact with saliva shall be named
          [DRUG] Orally Disintegrating Tablets.
    5. Tablets may be intended to be absorbed in a specific location in the mouth rather than in other
          parts of the gastrointestinal tract. Such location shall be indicated in the name, e.g., [DRUG]
          Buccal Tablets, [DRUG] Sublingual Tablets.
    6. Tablets may be formulated such that the release is modified. Currently, there are two types of
          modified-release tablets: Delayed-Release Tablets and Extended-Release Tablets (the term
          Delayed-Release or Extended-Release is to be substituted for Release Characteristics in the
          examples below). It is unacceptable to use other descriptors, e.g., “Controlled Release,”
          “Enteric Coated,” or their corresponding acronyms, in compendial names (see General
          Nomenclature Practices section).


Tablets Nomenclature
[DRUG] {RELEASE CHARACTERISTICS} {UNIQUE DESCRIPTOR} {SITE OF DELIVERY}
Tablets
The terms noted above are described below:
{RELEASE CHARACTERISTICS}: extended-release, delayed-release
{UNIQUE DESCRIPTOR}: chewable, orally disintegrating
{SITE OF DELIVERY}: buccal, sublingual, etc.


[DRUG] Tablets (Hydrochlorothiazide Tablets)


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[DRUG] Buccal Tablets (Miconazole Buccal Tablets)

[DRUG] Chewable Tablets (Loratadine Chewable Tablets)

[DRUG] Delayed-Release Tablets (Risedronate Sodium Delayed-Release Tablets)

[DRUG] Extended-Release Tablets (Zolpidem Tartrate Extended-Release Tablets)

[DRUG] Orally Disintegrating Tablets (Clonazepam Orally Disintegrating Tablets)

[DRUG] Delayed-Release Orally Disintegrating Tablets (Lansoprazole Delayed-Release Orally
Disintegrating Tablets)

[DRUG] Sublingual Tablets (Nitroglycerin Sublingual Tablets)

[DRUG] Tablets for Oral Solution

[DRUG] Effervescent Tablets for Oral Solution (Alendronate Sodium Effervescent Tablets for Oral
Solution)

[DRUG] Tablets for Topical Solution

[DRUG] Tablets for Oral Suspension (Everolimus Tablets for Oral Suspension)



Tape
Not preferred, see Systems


Tinctures
Not preferred, see Solutions


Troche
Not preferred, see Lozenges


                Nomenclature for Animal Drugs for Use in Animal Feeds
Some animal drugs are approved for manufacture into medicated articles and feeds that are used to
deliver the drugs via the feed given to animals. Animal drugs in feeds are regulated as Type A
medicated articles and Type B or Type C medicated feeds.



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A full discussion of medicated articles and feeds is provided in General Chapter <1152> Animal Drugs
for Use in Animal Feeds. Briefly, Type A medicated articles [21 CFR 558.3(b)(2)] are concentrated
forms of animal drugs intended solely for further manufacture into other approved Type A medicated
articles or Type B or Type C medicated feeds. Type A medicated articles consist of one or more animal
drugs with or without a carrier and/or other inactive ingredients. They cannot be fed directly to animals,
but must be further diluted by mixing into feed. Type B medicated feeds [21 CFR 558.3(b)(3)] are
manufactured from either Type A medicated articles or other Type B medicated feeds by dilution with
non-medicated feed ingredients. Type B medicated feeds are “intermediate” medicated feeds intended
only for further dilution by mixing into feed and cannot be fed directly to animals. Type C medicated
feeds [21 CFR 558.3(b)(4)] are intended to be fed directly to animals. They are manufactured from Type
A medicated articles, Type B medicated feeds, or other Type C medicated feeds diluted with non-
medicated feed ingredients.
Medicated articles and medicated feeds may be in either dry or liquid form. Furthermore, Type C
medicated feeds may be approved for specific administration modes. These forms and administration
modes are captured in nomenclature that is available for medicated articles and feeds. The term
“premix” is no longer used for nomenclature purposes for animal drugs for use in animal feeds.


Medicated Article and Medicated Feed Nomenclature
[DRUG] Type A Medicated Article (Monensin Type A Medicated Article)
[DRUG] Type A Liquid Medicated Article
[DRUG] Type B Medicated Feed
[DRUG] Type B Liquid Medicated Feed
[DRUG] Type C Medicated Feed
[DRUG] Type C Liquid Medicated Feed
[DRUG] Type C Free-Choice Medicated Feed
[DRUG] Type C Liquid Free-Choice Medicated Feed
[DRUG] Type C Top-Dress Medicated Feed




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                                                  References
     1. USP 42–NF 37. General Chapter <1121> Nomenclature, U.S. Pharmacopeial Convention,
         Rockville, MD, 2019.


     2. USP 42–NF 37. General Chapter <1151> Pharmaceutical Dosage Forms, U.S. Pharmacopeial
         Convention, Rockville, MD, 2019.


     3. AHFS Drug Information, 2019. American Society of Health-System Pharmacists, Bethesda, MD,
         Accessed 12 August 2019.


     4. USP 42–NF 37. General Chapter <1152> Animal Drugs for Use in Animal Feeds, U.S.
         Pharmacopeial Convention, Rockville, MD, 2019.


       This Guideline supersedes any previous guideline issued by USP on nomenclature and labeling.



     SUMMARY OF CHANGES FOR THIS REVISION:

            SUMMARY OF CHANGES                                      RATIONALE FOR CHANGE
G01.11-03
Section: Introduction – Dietary Supplements               Binomial is synonymous with the word “name”.
-Removed “names” after “Latin binomials”                  Binomial was changed to singular.
Section: General Nomenclature Practices                   Route of administration for animal drug products
-Addition of reference to animal drug products            that are applied topically and have systemic effect.
Reference added to Guidance for Implementation and        Provides further guidance for the salt naming policy
Exceptions: The Monograph Naming Policy for Salt          found in General Chapter <1121> Nomenclature
Drug Substances in Drug Products and Compounded
Preparations in General Chapter <1121>
Nomenclature
Section: Concentrates                                     Provide more clarity and align with language in
-Modification of paragraph                                General Chapter <1151> Pharmaceutical Dosage
                                                          Forms




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Removal of reference to medicated foams                   Medicated foams dosage form text in General
                                                          Chapter <1151> Pharmaceutical Dosage Forms is
                                                          still under review by USP.
Drug product example removed                              Drug product no longer on the market
Section: Powders                                          Updated for clarification: “ Powders that are
-Subheading modified                                      Reconstituted”
Referrals to “Systems”                                    There are not defined sections within “Systems”,
-Removed “(Transdermal)”                                  therefore detailed cross-references were not
                                                          necessary.
Formatting changes                                        Changes made to improve document appearance.




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